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                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 24-4112


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        WILLIAM T. WARE,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Southern District of West Virginia, at
        Charleston. Irene C. Berger, District Judge. (2:18-cr-00242-1)


        Submitted: August 14, 2024                                        Decided: August 21, 2024


        Before WILKINSON, AGEE, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        ON BRIEF: Wesley P. Page, Federal Public Defender, Jonathan D. Byrne, Appellate
        Counsel, Emily L. Szopinski, Assistant Federal Public Defender, OFFICE OF THE
        FEDERAL PUBLIC DEFENDER, Charleston, West Virginia, for Appellant. William S.
        Thompson, United States Attorney, Samuel D. Marsh, Assistant United States Attorney,
        OFFICE OF THE UNITED STATES ATTORNEY, Charleston, West Virginia, for
        Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               While serving a term of supervised release, William T. Ware violated the conditions

        of release by possessing and using controlled substances, failing to notify the probation

        officer about a change in residence, and failing to participate in substance abuse programs.

        The district court revoked Ware’s term of supervised release and sentenced him to 12

        months’ imprisonment followed by a 24-month supervised release term with a special

        condition requiring Ware to serve 9 to 12 months of his supervised release term in a

        residential substance abuse program. Ware appeals the revocation sentence, arguing that

        it is substantively unreasonable. We affirm.

               “A district court has broad discretion when imposing a sentence upon revocation of

        supervised release. [We] will affirm a revocation sentence if it is within the statutory

        maximum and is not plainly unreasonable.” United States v. Patterson, 957 F.3d 426, 436

        (4th Cir. 2020). Before deciding “whether a revocation sentence is plainly unreasonable,

        [we] must first determine whether the sentence is procedurally or substantively

        unreasonable,” id., applying “the same procedural and substantive considerations that

        guide our review of original sentences,” but taking “a more deferential appellate posture

        than we do when reviewing original sentences,” United States v. Padgett, 788 F.3d 370,

        373 (4th Cir. 2015) (internal quotation marks omitted).          “[I]f a sentence is either

        procedurally or substantively unreasonable,” we then address “whether the sentence is

        plainly unreasonable—that is, whether the unreasonableness is clear or obvious.”

        Patterson, 957 F.3d at 437 (internal quotation marks omitted).



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               Although Ware only challenges the substantive reasonableness of his revocation

        sentence, in conducting our review, we must also consider the procedural reasonableness.

        Patterson, 957 F.3d at 436. “A revocation sentence is procedurally reasonable if the district

        court adequately explains the chosen sentence after considering the Sentencing Guidelines’

        nonbinding Chapter Seven policy statements and the applicable 18 U.S.C. § 3553(a)

        factors.” United States v. Coston, 964 F.3d 289, 297 (4th Cir. 2020) (internal quotation

        marks omitted); see 18 U.S.C. § 3583(e) (listing applicable factors). When fashioning an

        appropriate revocation sentence, “the court should sanction primarily the defendant’s

        breach of trust, while taking into account, to a limited degree, the seriousness of the

        underlying violation and the criminal history of the violator.” U.S. Sentencing Guidelines

        Manual ch. 7, pt. A(3)(b), p.s. (2018); see United States v. Webb, 738 F.3d 638, 641

        (4th Cir. 2013). “[A]lthough the court need not be as detailed or specific when imposing

        a revocation sentence as it must be when imposing a post-conviction sentence, it still must

        provide a statement of reasons for the sentence imposed.” United States v. Slappy, 872

        F.3d 202, 208 (4th Cir. 2017) (cleaned up). The district court must, at a minimum, explain

        the sentence sufficiently to permit meaningful appellate review “with the assurance that

        the court considered any potentially meritorious arguments raised by [the defendant] with

        regard to his sentencing.” United States v. Gibbs, 897 F.3d 199, 205 (4th Cir. 2018)

        (cleaned up). Our review of the record on appeal convinces us that Ware’s sentence is

        procedurally reasonable.

               “A revocation sentence is substantively reasonable if, in light of the totality of the

        circumstances, the court states an appropriate basis for concluding that the defendant

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        should receive the sentence imposed.” Coston, 964 F.3d at 297 (internal quotation marks

        omitted). Ware argues that imposing a 12-month term of imprisonment and a 24-month

        supervised release term with the special condition requiring Ware to complete a 9- to 12-

        month inpatient substance abuse treatment program while on supervision rendered his

        sentence procedurally unreasonable. He notes that the Government requested a term of

        imprisonment within the policy statement range and that he requested to continue on

        supervision in order to obtain long term inpatient substance abuse treatment and maintains

        that the sentence imposed by the district court was more severe than either party requested.

               Ware does not challenge per se the special condition requiring him to participate in

        an inpatient substance abuse program. Rather, he acknowledges that he specifically

        requested placement in an inpatient drug rehabilitation program but did so as an alternative

        to—not in addition to—a term of imprisonment. He concedes on appeal that a term of

        incarceration was required, see 18 U.S.C. § 3583(g) (setting forth circumstances mandating

        revocation of supervised release for possession of controlled substance), but argues that a

        much shorter term would have addressed his breach of the court’s trust and enabled him to

        proceed more quickly to substance abuse treatment. He maintains that placing him in a 9-

        to 12-month residential treatment program as a special supervised release condition after

        requiring him to complete a 12-month prison term essentially amounted to nearly two years

        of confinement.

               The court announced that it imposed the 12-month term of imprisonment after

        considering the relevant § 3553(a) factors, the nature of Ware’s supervised release

        violations, and the arguments of the parties. In explaining the supervised release term and

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        the special condition requiring inpatient substance abuse treatment, the district court noted

        that the probation officer attempted multiple times to provide Ware with substance abuse

        treatment and adequate housing. Ware’s initial supervised release term commenced on

        October 31, 2023.         The court observed that between November 1, 2023, and

        January 10, 2024, Ware was terminated from three separate community programs—

        including a substance abuse program mandated by the conditions of his supervised

        release—possessed synthetic cannabinoids and crack cocaine, and admitted to substance

        abuse. Additionally, the court considered that Ware failed to inform his probation officer

        when he was terminated from one of the programs.

               Ware attributed his violations to substance abuse and homelessness. The district

        court opined that the best way to prevent recidivism would be for the court to help Ware

        fight his drug abuse. In considering Ware’s history, the court observed that Ware’s

        supervised release was revoked in an earlier federal case based on his possession, use, and

        trafficking of controlled substances. The court remarked that Ware exhibited a lack of

        respect for authority and a continuing willfulness to breach the court’s trust. Stating that it

        carefully considered whether to impose a new term of supervised release and taking into

        account the short time between Ware’s release from custody and his violations of the terms

        of supervised release, the court decided that an additional 24-month term of supervised

        release that included the special condition requiring Ware to spend 9 to 12 months in a

        residential substance abuse program would help Ware transition back into society and

        protect the public.



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              The court reiterated that this sentence was sufficient but not greater than necessary

        to meet the goals of a revocation sentence and was tailored to deter Ware from further

        violations, protect the public, provide drug treatment, and avoid unwarranted sentencing

        disparities between Ward and others similarly situated. The court’s reasons were rooted in

        several § 3553(a) factors listed in § 3583(e)—“the need to afford adequate deterrence to

        criminal conduct,” “protect the public from further crimes of the defendant,” “provide the

        defendant with needed . . . medical care, or other correctional treatment in the most

        effective manner,” and “the need to avoid unwarranted sentence disparities.” 18 U.S.C.

        § 3553(a)(2)(B)-(D), (6); see id. § 3583(e). And the court explained that the sentence

        addressed Ware’s breach of the court’s trust. We conclude that, under the totality of the

        circumstances, the district court provided appropriate grounds for imposing the sentence

        Ware received. Coston, 964 F.3d at 297.

              Because the district court acted within its discretion by sentencing Ware to 12

        months’ imprisonment and in imposing a 24-month term of supervised release that

        included the special condition that Ware serve 9 to 12 months in a residential substance

        abuse treatment program, we conclude that Ware’s sentence is procedurally and

        substantively reasonable. Accordingly, we affirm the judgment of the district court. We

        dispense with oral argument because the facts and legal contentions are adequately

        presented in the materials before this court and argument would not aid the decisional

        process.

                                                                                      AFFIRMED



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